                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 24-3521

                                       State of Kansas, et al.

                                                      Appellees

                                                 v.

            United States of America and Centers for Medicare & Medicaid Services

                                                      Appellants


______________________________________________________________________________

         Appeal from U.S. District Court for the District of North Dakota - Western
                                  (1:24-cv-00150-DMT)
______________________________________________________________________________

                                              ORDER

       Appellant's request for a temporary administrative stay of the district court's December 9,

2024 order, pending this court's consideration of Appellant's motion to stay the district court's

order pending appeal, is granted. Appellees are directed to file any response(s) to Appellant's

motion for stay pending appeal by December 18, 2024 at 2:00 p.m. Central Time. Any reply

from Appellant is due by 12:00 p.m. Central Time on December 19, 2024.



                                                        December 16, 2024




Order Entered at the Direction of the Court:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




   Appellate Case: 24-3521          Page: 1      Date Filed: 12/16/2024 Entry ID: 5466719
